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                         EXHIBIT 3
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        ~N                                                          US. Department of Justice
 or                                                                 Office of Legislative Affairs

 Officeof the Assistant Attorney General                           Washington, DC 20530

                                               May 16,2024
 “The Honorable Jim Jordan
 Chairman
 Comittee on the Judiciary
 U.S. House of Representatives
 Washington, DC 20515
 ‘The Honorable James Comer
 Chairman
 Comittee on Oversight and Accountability
 U.S. HouseofRepresentatives
 Washington, DC 20515

Dear Chairman Jordan and Chairman Comer:
          ‘The Departmentof Justice (Department) has responded in good faith to your requests for
 information concerning Special Counsel Robert K. Hur's investigation, including the subpoenas
 issued by the Committee on the Judiciary and Committee on Oversight and Accountability
 (Committees) on February 27, 2024. Specifically, the Department has provided materials in
 response to each of the four categoriesofmaterials in the Committees” subpoenas. Despite this
 recordofcompliance, the Committees have scheduled meetings to consider resolutions citing the
 Atiomey General for contempt. As the Department has previously explained, a contempt citation
 is not justified on this record." I write to inform you that the President has asserted executive
 privilege over the requested audio recordings and is making       a protective assertionofprivilege
 over any remaining materials responsive to the subpoenas that have not already been produced.
 A copyofthe Attomey Generals letter o the President setting forth the legal bases for the
 assertions is enclosed with this letter.
          ‘When he was nominated, the Attomey General pledged to reaffirm the principles that
 have guided the Department and protected the ruleoflaw for decades. That is exactly what the
 Department has done here. While our cooperation with Congress has been extraordinary, we also
 have a responsibilty to safeguard the confidentiality of law enforcement files where disclosure:
 ‘would jeopardize future investigations. The Attorney General must drawa line that safeguards
 the Department from improper political influence and protects our principles, our law
 !Leter from Hon. Carls Uriate, Assistant Atty Gen, Off. of Legis. AF, to Hon. Jim Jordan, Chairman, U.S. H.
 Comm, onthe Judiciary, and Hon. James Comer, Chaiman, U.S. H. Comm. on Oversight& Accountbily         a 10
 (April 25.2024).
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‘The Honorable Jim Jordan
‘The Honorable James Comer
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enforcement work, and the people who cary out that work independently, without fear or favor.
“This protects the ruleof law, now and in the future. The Committees seck to hold the Attorney
General in contempt not for failing in his duties, but for upholding them.
         “The Department's record in this matter is clear. We have made substantial efforts to
‘accommodate your interest in Special Counsel Hur's investigation. In addition to providing the
Special Counsel's report and facilitating the Special Counsel's testimony. the Department
provided the two classified documents the Committees requested, transcriptsofthe interviews of
the President andof Mark Zwonitzer, and correspondence regarding the Special Counsel's
report. In short, the Department has respondedtoeach ofthe four requests in your subpoenas. As
the Department wrote in prior letters to the Committees, these efforts reflect that we have taken
seriously eachof the reasons for which the Committees have said they are seeking this
information and addressed the Committees" stated informational needs. Forexample,asthe
Department wrote previously, in producing the interview transcripts, the Committees now know
‘What was asked during the interviews and what was answered. Despite our repeated requests
over several months, the Committees have sill not identified a remaining need for these audio
files that would serve the asserted purposesof your investigations.
         ‘We have repeatedly made clear that disclosure of the subpoenaed audio recordings would
damage future law enforcement efforts and that the Committees’ continued demands raise
serious separationof powers concerns. As the enclosed letter from the Attomey General
explains, (tJhe Department has long recognized that executive privilege protects materials
related to a closed criminal investigation where disclosure is likely 0 damage future law
enforcement efforts,” which “is the case here.” The letter further explains that producing the
audio recordings to the Committees “would raise an unacceptable risk of undermining the
Department's ability to conduct similar high-profile criminal investigations—in particular,
investigations where the voluntary cooperation of White House officials is exceedingly
important.” It also explains that the Committees” “articulated need for the audio recordings is
insufficient to meet any potentially applicable standard,” and that the audio recordings will “not
reveal any information relevant to the Committees’ stated needs that is not available in the
transcripts and other documents that are already in the Committees” possession.” The
Committees" “needs are plainly insufficient to outweigh the deleterious effects that production of
the recordings would have on the integrity and effectivenessof similar law enforcement
investigations in the future.”
         ‘We are disappointed the Committees have refused to acknowledgeoraccommodate the
Department's concems and instead appear intent on proceeding with contempt votes. It is the
longstanding positionofthe executive branch held by administrations of both parties that an
official who asserts the President's claimof executive privilege cannot be prosecuted for
criminal contemptofCongress. With the information you now have, the Committees ought not
*fd; Let from Hon. Carlos Uriate, Assisant AW'y Gen., OFF.ofLegis. Af, o Hon. Sin Jordan, Chaiman, US.
H. Comm. on te Judiciary. and Hon. James Comer, Chairman, U.S. H. Com. on Oversight & Accountability
(April 8, 2020).
See Prasecuonfor ContemptofCongres ofan Eccuive Branch Offical Who HasAssented a Claim of
Executive Privilege. $ Op. OL.C. 103, 102 (1984).
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proceed with contempt and should instead avoid unnecessary and unwarranted confliet. In 2008,
the Committee on Oversight and Goverment Reform took down acontempt vote after President
Bush asserted executive privilege over the record ofa Special Counsel interviewof the Vice
President. The Department will continue to respond in good faith to legitimate oversight requests
from these and other committees, consistent with our obligations under the constitutionally
mandated accommodation process. We encourage the Committees to fulfill their constitutional
duty as well,
                                                            Sincerely,



                                                            Carlos Felipe Uriarte
                                                            Assistant Attomey General
Enclosure
ce:
‘The Honorable Jerrold L.. Nadler
Ranking Member
Committee on the Judiciary
U.S. House of Representatives
Washington, DC 20515
‘The Honorable Jamie Raskin
Ranking Member
Comittee on Oversight and Accountability
U.S. HouseofRepresentatives
Washington, DC 20515
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£3                           Office of the Attornep General
§>                               Washington,  B. €. 20530


                                            May 15,2024

 The President
 ‘The White House
 ‘Washington, D.C. 20500

 Dear Mr. President:

        On February 27, 2024, the Committee on the Judiciary and the Committee on Oversight
 and Accountability ofthe United States House of Representatives (“Committees”) subpoenaed
 audio recordingsoftwo of Special Counsel Robert K. Hur’s interviews conducted in connection
 with his investigationofmatters related to classified documents discovered at the Penn Biden
 Center for Diplomacy and Global Engagement and your private residence.
        ‘The Department's OfficeofLegal Counsel has concluded that the subpoenaed audio
 recordings fall within the scopeof executive privilege and that you may assert excutive
 privilege with respect 10 the recordings. 1 concur with this assessment. The Department has long
 recognized that executive privilege protects materials related to a closed criminal investigation
 ‘where disclosure is likely to damage future law enforcement efforts, which I have concluded is
 the case here. To date, the Committees have failed to satisfy anyofthe potentially relevant
 standards for overcoming an assertionofexecutive privilege. The Committees’ needs are plainly
 insufficient to outweigh the deleterious effects that productionofthe recordings would have on
 the integrity and effectivenessofsimilar law enforcement investigations in the future. I therefore
 respectfully request that you assert exceutive privilege over the subpoenaed recordings. 1also
 request that you make a protective assertionofexecutive privilege with respect to any other
 ‘materials responsive to the subpoenas that have not already been produced.

        ‘This letter explains in further detail the legal basis for these privilege assertions. The
 Department has previously recognized that subpoenas like those at issue here raise distinct
 ‘separationofpowers concerns related to the integrity and effectiveness of future law
                        —in particular, investigations where the voluntary cooperation of
 enforcement investigations
 White House officials is exceedingly important. See AssertionofExecutive Privilege
 Concerning the Special Counsel's Interviewsofthe Vice President and Senior White House Staff,
 32 0p. O.L.C. 7, 10-11 (2008) (“Special Counsel Assertion”). As described in more detail
 below, the Department has already provided substantial accommodations in response to the
 Committees” subpoenas, including by producing to the Committees the transcriptsofthe Special
 Counsel's interviews. The needs the Committees have articulated to date for the recordings are
 plainly insufficient to overcome a privilege claim grounded in these important separation of
 powers concerns.
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         In January 2023, I appointed Special Counsel Hur to investigate matters including the
“possible unauthorized removal and retentionof classified documents or other records
discovered at the Penn Biden Center for Diplomacy and Global Engagement and the
 Wilmington, Delaware, private residence ofPresident Joseph R. Biden, Jr.> Att'y Gen. Order
No. 5588-2023 (Jan. 12, 2023). As the Special Counsel later described, you cooperated with the
investigation, including by providing a voluntary interview that took place over the courseoftwo
days. See Robert K. Hur, Report on the Investigation Into Unauthorized Removal, Retention,
and Disclosureof ClassifiedDocuments Discovered at Locations Including the Penn Biden
Center and the Delaware Private ResidenceofPresident Joseph R. Biden, Jr. at 5, 11 (Feb. 5,
2024),
         In February 2024, Special Counsel Hur closed his investigation, submitting to me his
final report concluding “that no criminal charges are warranted in this matter.” Jd. at 1. Two
days later, informed the relevant committees in Congress that the Special Counsel's
investigation had concluded. See Letter for Richard Durbin, Chair, Senate Committee on the
Judiciary, et al., from Merrick B. Garland, Attorney General (Feb. 7, 2024). The following day,
1 provided them with a copyofthe Special Counsel's report and notified the committeesofyour
decision “not to assert executive privilege over any partofthe report o its appendices.” Letter
for Richard Durbin, Chair, Senate Committee on the Judiciary, et al, from Merrick B. Garland,
Attomey General at | (Feb. 8, 2024) (“February § Letter”).
         Soon after I transmitted the Special Counsel’s report to Congress, the Committees, along
with the House Committee on Ways and Means,senta requesttothe Department seeking four
categoriesofmaterial (1) documents and communications, “including audio and video
recordings,” relating to the Special Counsels interview ofyou; (2) the same as to the Special
Counsel interviewof your ghostwriter, Mark Zwonitzer; (3) two classified documents; and
(4) various Department and White House communications regarding the Special Counsels
report. See Letter for Merrick B. Garland, Attomey General, from James Comer, Chairman,
House Committee on Oversight and Accountability, et al. at 3 (Feb. 12, 2024). Two weeks later,
the Committees issued subpoenas for those four categoriesofmaterial. See Letter for Merrick B.
Garland, Attorney General, from James Comer, Chairman, House Committee on Oversight and
Accountability, and Jim Jordan, Chairman, House Committee on the Judiciary at 1 (Feb. 27,
2024) (“February 27 Letter”) (enclosure). The Committees saidthatthe materials were relevant
10 their assessment of whether sufficient grounds exist to draft articles of impeachment for
consideration by the full House and, separately, the Judiciary Committee’ legislative oversight
ofthe Department. Jd. at 1-2. In doing 50, the Committees cited House Resolution 918, which
authorized them, along with the Ways and Means Committee, to “continue their existing
investigations as part ofan impeachment inquiry.” H.R. Res. 918, 118th Cong. (2023).
         ‘Throughout the Committees’ investigations, the Department has made substantial efforts
to accommodate the Committees’ requests and subpoenas. Just three days afer | received.
Special Counsel Hur’s report, I transmitted it to Congress and released it to the public in full
‘without any additions, redactions, or modifications. See February 8 Letter. The Department has
also produced responsive materials in connection with the Committees” requests and the

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 February 27 subpoenas. Letter for Jim Jordan, Chairman, House Committee on the Judiciary,
 and James Comer, Chairman, House Comittee on Oversight and Accountability, from Carlos
 Felipe Uriarte, Assistant Attomey General, Office of Legislative Affairs (Apr. 8, 2024) (“April §
 Letter”). The Department provided the transcriptsofSpecial Counsel Hur's interviews with you
 and Mr. Zwonitzer, correspondence regarding the Special Counsel’ report, and the two
 classified documents the Committees requested. Jd. The Department has accordingly responded
 10 eachofthe four requestsinthe Committees’ February 27 subpoenas. 1d. at 1. The
 Department and Special CounselHuralso agreed that the Special Counsel would testify before
 Congress about his investigation, and the Special Counsel appeared and answered questions for
 more than five hours. See Hearing Before the H. Comm. on the Judiciary on the Report of
 Special Counsel Robert K. Hur, 118 Cong. (Mar. 12, 2024).
          Even after the Department's responses and Special CounselHur'stestimony, the
 Committees continued to pursue additional information. Most recently, the Committees
 specifically requested the audio recordingsof your interview and Mr. Zwonitzer’s interview with
 the Special Counsel. See Letter for Merrick B. Garland, Attorney General, from James Comer,
 Chairman, House Committee on Oversight and Accountability, and Jim Jordan, Chairman,
 House Committee on the Judiciary at 2 (Mar. 25, 2024); Letter for Merrick B. Garland, Attomey
 General, from James Comer, Chairman, House Committee on Oversight and Accountability, and
 Jim Jordan, Chairman, House Committee on the Judiciary at 2 (Apr. 15, 2024) (“April 15
 Letter”). The Committees threatened to invoke contempt of Congress proceedingsif the audio
 recordings were not produced. April 15 Letter at 4.
          Pursuant to the accommodation process, the Department responded on April 25, 2024, to
 engage further with the Committees’ statementsoftheir needs and to explain in additional detail
 our concerns and confidentiality interests. Letter for Jim Jordan, Chairman, House Committee
 on the Judiciary, and James Comer, Chairman, House Committee on Oversight and
 Accountability, from Carlos Felipe Uriarte, Assistant Attomey General, Office of Legislative
 Affairs (Apr. 25, 2024). To date, the Committees have not responded to this further explanation
ofthe Department'sconcerns. The Committees have scheduled meetings for May 16, 2024, to
 vote on resolutions holding me in contemptofCongress for failing to comply with their
 subpoenas. See Amendment in the Nature ofa Substitute to the Committee Report for the
 Resolution Recommending That the HouseofRepresentatives Find United States Attomey
 General Merrick B. Garland in Contempt of Congress for Refusal to Comply with a Subpoena
 Duly Issued by the Committee on the Judiciary, 118th Cong. (2024) (“Judiciary Contempt
 Report”); Draft Resolution RecommendingThatthe HouseofRepresentatives Find United
 States Attorney General Merrick B. Garland in Contempt ofCongress for Refusal to Comply
 with a Subpoena Duly Issued by the Committee on Oversight and Accountability, 118th Cong.
 (2024) (“Oversight Contempt Report”).
                                                  IL
          ‘The audio recordings of your interview and Mr. Zwonitzer's interview fall within the
 scopeofexecutive privilege. Productionofthese recordings to the Committees would raise an
 unacceptable riskofundermining the Department's ability to conduct similar high-profile

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criminal investigations—in particular, investigations where the voluntary cooperationofWhite
House officials is exceedingly important.
          Executive privilege is “fundamental to the operation of Goverment and inextricably
rooted in the separationofpowersunderthe Constitution.” United States v. Nixon, 418 U.S. 683,
708 (1974). The privilege is “a necessary corollary ofthe executive function vested in the
President by Article II of the Constitution.” Congressional Requestsfor Confidential Executive
Branch Information, 13 Op. O.L.C. 153, 154 (1989). It “has been asserted by numerous
Presidents from the earliest daysofour Nation,” id, was explicitly recognized by the Supreme
Court in United States v. Nixon, 418 U.S. at 708, and has been reaffirmed by the Court several
times since then, see, e.g, Trump v. Mazars USA, LLP, 591 U.S. 848, 863 (2020); Cheney v. US.
Dist. Ct. for D.C., 542 US. 367, 389 (2004). As the Supreme Court has explained, “information
subject 10 executive privilege deserves ‘the greatest protection consistent with the fair
administration ofjustice.” Mazars, 591 U.S. at 864 (quoting Nixon, 418 U.S. at 715).
          Materials protected by executive privilege include materials contained in law
enforcement files, over which the President “may invoke executive privilege to preserve the
integrity and independenceofcriminal investigations and prosecutions.” Special Counsel
Assertion, 32 Op. O.L.C. at 10.} The law enforcement componentofexecutive privilege protects
against, among other things, “the potential damage to proper law enforcement” that would be
caused by disclosure, including “the chilling effect” on “sourcesof information,” and reflects a
“sensitivity to the rights of innocent individuals who may be identified in law enforcement files
but who may not be guiltyofany violationoflaw.” Response to Congressional Requestsfor
Information Regarding Decisions Made Under the Independent Counsel Act, 10 Op. O.L.C. 68,
76 (1986). This chilling effect can extend to future investigations and thus may exist even if
disclosure occurs only once an investigation ends. Special Counsel Assertion, 32 Op. O.L.C. at
10 (“Although the law enforcement componentofexecutive privilege is more commonly
implicated when Congress seeks materials about an open criminal investigation, the separation of
powers necessityofprotecting the integrity and effectivenessofthe prosecutorial process.
continues after an investigation closes.”). The Department has long recognized, therefore, that
executive privilege protects materials related to a closed criminal investigation where disclosure
might hamper prosecutorial efforts in future cases. See id. at 10-11
          ‘That is precisely the concern at issue here. Even though Special Counsel Hurhas
concluded his investigation, I share the overarching concen expressed in Special Counsel
         *See also Response to Congressional Requestsor Information Regarding Decisions Made Under he
Independent Counsel Act, 10 Op. O.L.C. 68, 75-78 (1986) (explaining    the Excaive Branch's authority to withhold
open and closed law enforcement files from Congress); Prosecutionfor Contemptof Congresof an Executive
Branch Offical Who Has Asserteda ClaimofExecuive Privilege, § Op. OL.C. 101, 117 (1984) (‘Since th early
partofthe 19th century, Presiden have steadfastly proteced the confidentiality and integrityofinvestigative files
from untimely, inappropriate, or uncontrollable access by the other branches, particalarly the lgislatur.”),
AssertionofExecutive Privilege in Response0CongressionalDemandsfor Law Enforcement Fils, 6 Op. OC.
31,32-33 (1982) similar concerning lw enforcement ileofthe Environmental Protection Agency); Position of
he Eccuive Department Regarding Investigaive Reporis, 40 Op. Ay Gen. 45, 46-48 (1941) providing
historical examples ofAttomeys General “who have uniformly taken he... view” that “investigative repors are
confidential documents of th executive department ofthe Government, 0 aid i th duty aid upon the President      by
the Constitution o “take care tha the laws be faithfully executed,’ and tht congressionalo public access fo them
Would not be i the public interest).
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 Assertion “about the prospectofcomitteesof Congress obtaining confidential records from
 Justice Department criminal investigative files for the purpose of addressing highly politicized
 issues in public committee hearings.” /d. Also similar   to theviews expressed in Special Counsel
 Assertion, | have a more specific concern about how the productionof the audio recordings
 ‘might affect the Department's ability to obtain vital cooperation in high-profile criminal
 investigations—in particular, in investigations where the voluntary cooperationof White House
 officials is exceedingly important. Id. (concluding that the disclosure of summariesofa special
 counsel's interviews with senior White House officials would “significantly impair the
 Department's ability to conduct future law enforcement investigations that would benefit from
 full White House cooperation”).
         ‘There “is an admirable tradition, extending back through Administrations ofboth
 political parties, of full cooperation by the White House with criminal investigations.” Id.
 (quotation marks omitted). Consistent with this tradition, you and Mr. Zwonitzer voluntarily
 agreed to the Special Counsel's requests bothforan interview and for that interview 10 be
 recorded. Butifkey witnesses in similar high-profile investigations expected that volunteering
 to sitforaninterviewand allowing that interview to be recorded would likely result in the
 release of that recording to Congress (and potentially the public), there is a significant risk that
 such witnesses would evaluate the Departments requests for cooperation differently in the
 future. And an inability to secure cooperation,or a diminution in the degree and extent of
 cooperation, would significantly impair the Department's ability to conduct similar high-profile
 investigations where cooperation is exceedingly important
         “The unique characteristicsofaudio recordings raise particularly pronounced concerns
 about chilling future cooperation. Recording interviews is a highly useful law enforcement tool,
 especially during high-profile or complex investigations. Audio recordings enable investigators
 to limit the numberofpeople physically present during interviews, which can facilitate a more
 candid and robust engagement between investigators and the witness, including when sensitive
 information may be discussed; they provide a mechanism for investigators and counsel for the
 witness to ensure thatatranscript accurately records the interviewee’stestimony, as opposed to
 relying solely on an investigator's notes; and they allow investigators and counsel to revisit
 certain elementsofthe interview by reviewing the audio recording or the transcriptofthat
 recording in lightof subsequent investigative developments.
          But as the Committees themselves acknowledge, see April 15 Letter at 3, the disclosure
ofaudio recordings can reveal characteristics that implicate privacy interests. Courts have
 therefore recognized that the releaseof such recordings presents a unique intrusion, even when
 compared to the significant privacy interests that may be present in transcriptions. See, e.g., New
 York Times Co. v. NASA, 920 F.2d 1002, 1005-07 (D.C. Cir. 1990) (en banc) (explaining that
 “voice inflectionscan contain personal information” and recognizing the possibility ofa privacy
 interest inan audio recordingofastronauts” voices even when a transcript had already been
 publicly released), remanded 782 F. Supp. 628, 631-33 (D.D.C. 1991) (emphasizing that the
 “very soundof[a person's] words ... constitutes] a privacy interest” and exempting the audio
 recording from disclosure). And that intrusion may be particularly severe when the recording is
 ofa law enforcement interview—a consequential interaction conducted under criminal penalty
 for false statements—in acase where the interviewee has not been charged witha crime. Cf

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Jud. Watch, Inc. v. Nat'l Archives & Recs. Admin., 876 F.3d 346, 349 (D.C. Cir. 2017)
(explaining that “[w]here individuals have been investigated but not charged with a crime,”
disclosureof certain private law enforcement information “represents a severe intrusion on the
privacy interests of the individual in question” (quotation marks and brackets omitted).
         Moreover, as courts have also recognized, the disclosureofaudio recordings presents a
significant opportunityformisuse and possible manipulation. In 1996, for example,a trial court
played a video recordingof a depositionofPresident Clinton. UnitedStates v. McDougal, 940
F. Supp. 224, 226 (ED. Ark. 1996). But the trial court refused to order release of that recording,
‘warning that disclosure of the videotapeof the President “might impede any future attempts to
tailor an arrangement for obtaining a President's testimony while minimizing the intrusion on his
duties.” [d. at 228. And the Eighth Circuit likewise refused to allow the video recordingofthe
depositions tobe duplicated, in part becauseofthe “potential for misuse” ofthe recording, such
as through “cutting, erasing, and splicing.” UnitedStates v. McDougal, 103 F.3d 651, 658 (8th
Cir. 1996); see also Nixon v. Warner Communc’ns, Inc., 435 U.S. 589, 601, 608 (1978) (denying
a press request for access to White House audiotapes that had been played for  ajury, and for
‘which transcripts had been furnished to the press, and recognizing thatifaudio recordings were
released, there would not “be any safeguard, other than the tasteofthe marketing medium,
against distortion through cutting, erasing, and splicingof apes”).
        For these reasons, in my view, disclosureofthe audio recordingsofthe Special Counsel's
interviews with you and Mr. Zwonitzer poses an unacceptable risk of impairing cooperation in
future high-profile investigations where voluntary cooperation is exceedingly important, such as
those involving White House officials. Ifwitnesses in such investigations reasonably fear that
‘materials like the recordings at issue here would subsequently be released to Congressorthe
public even when prosecutors declined to charge them with a crime, they may be less likely to
cooperate with the Department's investigatory efforts, including by refusing to sit for recorded
interviews. Or they might cooperate less fully, such as by being less comprehensive in their
answers during interviews. Either way, this diminished cooperation would significantly impair
the Department's ability to investigate and prosecute such important matters.
         My concerns about disclosing the audio recordings of the Special Counsel's interviews
with you and Mr. Zwonitzer mirror in many ways the concerns that led President George W.
Bush to assert executive privilege in 2008 10 protect information related 10 interviews conducted
in another special counsel investigation involvingthe White House. In that matter, a House
committee sought information about a closed investigation conducted by Special Counsel Patrick
Fitzgerald into the disclosureofthe identity of a Central Intelligence Agency employee. Special
Counsel Assertion, 32 Op. O.L.C. at 7. The committee subpoenaed Federal Bureau of
Investigation (“FBI”) “reportsofthe Special Counsels interviews with the Vice President and
senior White House staff, as well as handwritten notes taken by FBI agents during someofthe
interviews.” Id. President Bush determined that these reports were covered by executive
privilege on the grounds that disclosureofthe reports would, among other things, impede White
House cooperation with future Department criminal investigations. See id. at 9-11.For the
reasons provided above, I have concluded that you may makea similar determination here with
respect to the audio recordings.

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         Finally, I note that the Department's disclosure of the transcriptsofthe interviews does
 not constitute a waiver and does not preclude an assertionofprivilege with respect to the audio
 recordings. As I have explained, audio recordings have distinct features and law enforcement
 uses, which implicate privacy interests and risks ofmisuse to a greater degree than transcripts,
 and disclosure to Congressofthe recordings would have a chilling effect on future cooperation
 in similar investigations. Moreover, it is well established that in the executive privilege context,
 “waiver should not be lightly inferred.” In re Sealed Case, 121 F.3d 729, 741 (D.C. Cir. 1997)
 (quotation marks omitted). Interpreting the productionof the transcripts as a waiver ofprivilege
 ‘would incentivize less Executive Branch cooperation and broader privilege assertions,
 ‘undermining each branch's “constitutional mandate to seek optimal accommodation”of each
 other's legitimate interests. United States v. Am. Tel. & Tel. Co., S67 F.2d 121, 127 (D.C. Cir
 1977). As the Department has emphasized, the accommodation process should and does
 “encourage, rather than punish, such accommodation by recognizing that Congress's need for
 such documents is reduced to the extent similar materials have been provided voluntarilyaspart
ofthe accommodation process.” AssertionofExecutive Privilege Concerning the Dismissal and
 Replacementof USS. Attorneys, 31 Op. O.L.C. 1,8 (2007).
                                                   mm.
         A congressional committee may overcome a presidential assertionof executive privilege
 onlyifit establishes that it has a sufficient need for the subpoenaed materials. There is some
 question as to what standardofneed the Comiltees must satisfy to overcome aprivilege
 assertion here, but their articulated need for the audio recordings is insufficient to meet any
 potentially applicable standard.
         In their correspondence, the Committees have referenced certain general purposes
 ‘underlying their investigations, including the Judiciary Committee's oversightofthe Department
 ‘and “whether sufficient grounds exist to draft articlesofimpeachment against President Biden
 for consideration by the full House.” February 27 Letter at 1. But the Committees have offered
 no convincing reason why, particularly when they are in possessionoftranscriptsof the two
 interviews that are the subjectoftheir subpoenas, they also need audio recordings to inform their
 oversight or impeachment investigations.
         ‘The Committees have provided a handful ofspecific explanationsoftheir need for the
 ‘audio recordings. First, the Committees have stated that they are interested in understanding
         In the congressional oversight context, a committe may overcome an executive privilege assertionifthe
subpoenaed materials are “demonstrably critical o the responsible fulfillment ofthe Commitee’s functions.”
Senate Select Comm. on Presidential Campaign Activites v. Nixon, 498 F-24725, 731 (D.C. Cir. 1974) en banc).
“The Department has “not setle[d] on th precise standard” for the showing of need tha a commie must make to
overcomea privilege assertion in an impeachment investigation. See ExcisionofAgencyCounselfrom
Congressional Deposiions in the Inpeachmen Context, 43 Op. O.LC. at *3 (Nov. 1, 2019).Ifth standard for
‘overcoming privilege in the impeachment context is aki fo the sindard tha applies i a grandjoy investigation, a
committee would need to show tha the recordings “likely contain] important evidence” hat “is not available with
due diligence elsewhere nre Sealed Case, 121 F.3da 754. Other potentially analogous siandards might be
drawn fromothercontexts. See Nixon, 418 U.S. ai 713 (discusing he insufficiency ofthe residents assetion of
privilege in light ofa cour’s “demonstrated, specific need”fo the information in a criminal cas). As described in
the text the Committes' stated need for the audio recordings would no satisfy anyofthese potential standards.
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whether President Biden may have “willfully retained classified information      and documents...
to assist his family’s business dealings or to enrich his family.” Judiciary Contempt Report at 7;
Oversight Contempt Report at 7; see also February 27 Letter at 1. Second, the Committees have
indicated that they are interested in understanding “whether White House or President Biden's
personal attorneys placed any limitationsor scoping restrictions during the interviews with
Special Counsel Huror Mr. Mark Zwonitzer precluding or addressing any potential statements
directly linking President Biden to troublesome foreign payments.” Jd. Third, the Committees
have stated that the audio recordings are relevant to their oversightofthe Executive Branch,
including the “Department's commitment to impartial justice and its handling of the
investigation and prosecutionofPresident Biden's presumptive opponent, President Donald J.
Tramp.” Jd. Such oversight, the Committees state, could lead to “potential legislative reforms”
regarding the Department's “use ofa special counsel to conduct investigationsof current and
former Presidents,” such as “codifying certain qualifications and requirements of special
counsels appointed by the Attorney General.” /d_at 2. The Committees have also stated that the
‘audiorecordingsare relevant to their determination “if legislation is needed” to ensure that
federal agencies “adequately account forrecordsand documents meant to be returned to the
federal government upon an executive branch employee’ departure from office.” Oversight
Contempt Report at 2. Finally, the Committees have suggested that they need access to the audio
recordings to verify the accuracyofthe transcripts. Judiciary Contempt Report at 14-15;
Oversight Contempt Report at 13-15.
         ‘The Departmenthasalready provided Congress information that satisfies these needs. As
Inoted above, just three days afer I received the Special Counsel's final report concluding that
no criminal charges were warranted, I provided the report to Congressin its entirety, before the
Committees had even requested it. See February 8 Letter. The Department also provided
classified documents requested by the Committees, as well as correspondence regarding the
Special Counsel's report. April 8 Letter at 2. In direct response to the Committees’ stated
interests, moreover, the Department provided the transcriptsofthe Special Counsel's interview
‘with you and his interview with Mr. Zwonitzer. 1d. In addition, Special Counsel Hur himself
appeared fora hearing beforethe Judiciary Committee, which was attended by theChairand
Ranking Memberofthe Oversight Committee, and he answered questions for more than five
hours. See Hearing Before the H. Comm. on the Judiciary on the Report of Special Counsel
Robert K. Hur, 118 Cong. (Mar. 12, 2024). Through these extensive efforts, the Department has
“amply fulfilled its constitutional obligation to make a principled efforttoacknowledge, and if
possible to meet, the Committees’ legitimate needs.” AssertionofExecutive Privilege Over
Deliberative Materials Generated in Response to Congressional Investigation Into Operation
Fast and Furious, 36 Op. O.L.C. 1,8 (2012) (cleaned up).
         Indeed, with respect to the first two interests identified above, given all the information
the Department has provided to date, the Committees have not been able to explain how the
audiorecordingsare “demonstrably critical to the responsible fulfillment of [their] functions,”
Senate Select Comm. on Presidential Campaign Activities v. Nivon, 498 F.2d 725, 731 (D.C. Cir.
1974) (en banc), or why the recordings “likely contain(] important evidence” that is not
available with due diligence elsewhere,” In re Sealed Case, 121 F.3d at 754. This is
unsurprising: the transcripts the Department produced to the Committees contain all the
substantive contentofthe Special Counsel’s interviews with you and Mr. Zwonitzer, and
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 productionofthe audio recordings will thus not reveal any information relevant to the
 Committees” stated needs that is not available in the transcripts and other documentsthatarc:
 already in the Committees’ possession.
         To be sure, the Committees have recently stated that audio recordings can contain vocal
 elements that may not be reflected on the faceof a transcript. See April 15Letterat 3 (arguing
 that audio recordings “capture vocal tone, pace, inflections, verbal nuance, and other
 idiosyncrasies”). The Committees have suggested that these nonsubstantive elementsofan
 interview can provide insight into whether a witness is being evasive. What is important here is
 that the Committees have not provided an explanation as to how these vocal elements in the
 Special Counsel's interviews shed any additional light beyond the transcript on whether
 President Biden may have “willfully retained classified information and documents... o assist
 his family’s business dealings or to enrich his family.” Judiciary Contempt Report at 7. And the
 transcripts and related correspondence produced to the Committees also contain any information
 the Committees   are seeking from the interviewsasto whether there were scoping restrictions
 placed on the Special Counsel’s interviews.
          Moreover, with respect to the Committees’ interests in the audio recordings as part of
 their oversight of the Executive Branch, the Committees have done nothing more than indicate
 that the vocal elementsofthe audio recordings “may possibly have some arguable relevance to
 the subjects it hasinvestigatedand to the areas in which it may propose legislation.” Senate
 Select Comm. on Presidential Campaign Activities, 498 F.2d at 733. In describing their
 legislative purpose, the specific areas ofpotential legislation the Committees have identified are
 “reforms” to the Department's “useof a special counsel to conduct investigations of current and
 former Presidents,” February 27 Letter at 2, and reforms to ensure that federal agencies
 “adequately account for records and documents meant to be retumed to the federal government
 ‘upon an excutive branch employee's departure from office,” Oversight Contempt Report at 2.
 But the Committees “point[] to no specific legislative decisions” relevant to that effort “that
 ‘cannot responsibly be made without access to materials uniquely contained in the [audio
 recordings).” Senate Select Comm. on Presidential Campaign Activities, 498 F.2d at 733. The
 Committees are plainly unable to establish a “demonstrably critical” need for the recordings,
 especially giventhatthey are in possession oftranscriptsofthose same interviews.
          Finally, the Committees have suggested that they need access to the audio recordings to
 Verify the accuracyof the transcripts, pointing to United States v. Nixon, 418 U.S. 683, and
 arguing that audiorecordingscan themselves have evidentiary value. Judiciary Contempt Report
 at 14; Oversight Contempt Report at 13-14. In Nixon, however, President Nixon had released
 only “edited transcripts”of a portion of the meetings covered by the audio recordings. 418 U.S.
 at 688. Here, by contrast, the Department produced unedited transcriptsof the interviews to the
 Committees, and the Committees have identified no reason to believe that those transcripts—
 which were created by the Special Counsel's Officeforuse in a criminal investigation in which
 accuracy wasofcritical importance—contain any inaccuracies relevant to their impeachment
 inquiry. The Committees have thus not identified any “specific legislative decisions” that would
 be frustrated by an inability to compare the transcripts against the audio recordings for purposes
of the Judiciary Committee's oversight investigation, nor have the Committees pointed

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 specifically to decisions in their impeachment inquiry that cannot be made withoutaccessto the
 audio recordings containing the same substantive materialof the transcripts in their possession.
         For these reasons, I conclude that the Comnittees have failed to satisfy anyofthe
 potentially relevant standards for overcoming an assertionofexecutive privilege. The
 ‘Committees’ needs are insufficient to outweigh the deleterious effects that productionofthe
 recordings would have on the integrity and effectivenessofsimilar high-profile law enforcement
 investigations in the future—in particular, investigations where the voluntary cooperation of
 White House officials is exceedingly important.
                                                  w.
         As discussed above, the Department has made substantial efforts to provide materials and
 ‘accommodations in response to eachofthe four categoriesofmaterials the Committees have
 subpoenacd. See supra Part I. Indeed, in the weeks since the Department provided the two
 transcriptsofthe Special Counsel's interviews, correspondence regarding the Special Counsel's
 report,and the classified documents the Committees requested, the Committees have specifically
 identified only one setof materials that they are still secking: the audio recordingsofthe
 interviews for which they have transcripts. See April 15 Letter at4(“Ifthe Department
 continues to withhold materials responsive to the Committees’ subpoenas—namely, the audio
 recordingsofSpecial Counsel Hur's interviews with President Biden and Mr. Zwonitzer—we
 will have no choice but to invoke contempt of Congress proceedings”); Judiciary Contempt
 Report at 3 (“The Department continues to withhold key material responsive to the subpoenas
 from the Judiciary and Oversight Committees—specifically the audio recordingsof Special
 Counsel Hur’s interviews with President Biden and Zwonitzer.”); accord Oversight Contempt
 Report at 3.
         Nevertheless, the Committees have scheduled votes on resolutions holding me in
 contempt of Congress for failure to comply with the subpoenas that leave open the possibility
 that they view the contempt citations as applying to other, unspecified subpoenacd materials as
 well. Judiciary Contempt Report at 1; Oversight Contempt Report at 1. The Department
 believes that, aside from the audio recordings, it has complied with the Committees” subpoenas.
 Consistent with this view, other than the audio recordings, the Committees have not identified
 any specific materials that the Department has failed to produce or that the Commitices continue
 10 seek beyond what that the Department has already made available. Nonetheless, outofan
 abundanceofcaution, I am requesting that you make a protective assertionofexecutive privilege
 with respect to any remaining materials that might be responsive to the Committees’ subpoenas.
         Presidents may make a protective assertion of executive privilege to “protect the interests.
ofthe Executive Branch pending a final determination about whether 10 assert privilege.”
 AssertionofExecutive Privilege Over Deliberative Materials Regarding Inclusionof Citizenship
 Question on 2020 Census Questionnaire, 43 Op. O.L.C. __ at *8 (June 11,2019) (quotation
 ‘marks omitted); see also Protective AssertionofExecutive Privilege Regarding White House
 Counsel's Office Documents, 20 Op. O.L.C. 1 (1996). Here, with respect to any materials
 beyondthe audio recordings that the Committees believe are subject to the subpoenas and remain
 outstanding, the Department would need the opportunity to engage in the accommodation
 process with the Committees, including by reviewing the materials for possible privileged
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information. In these circumstances, you may make a protective assertion ofexecutive privilege
with respect to any such materials.
                                                 v.
       For the reasons set forth above, I believe it is legally permissible for you to assert
executive privilege as to the audio recordingsof yourand Mr. Zwonitzer's interviews with
                                         a protective assertionofexecutive privilege with
Special Counsel Hur, and that you may make
respect to any remaining materials responsive to the subpoenas that have not already been
produced. I respectfully request that you do so.



                                                      Merrick B. Garland
                                                      Attomey General




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